    Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 1 of 30




                               No. 23-55714
                 ______________________________________________



United States Court of Appeals for the Ninth Circuit
         CHAYA LOFFMAN AND JONATHAN LOFFMAN, ET AL.,
                    Plaintiffs-Appellants,
                               v.
          CALIFORNIA DEPARTMENT OF EDUCATION, ET AL.,
                     Defendants-Appellees.

         On Appeal from the United States District Court
              for the Central District of California
                  No. 2:23-cv-01832-JLS-MRW
                   Hon. Josephine L. Stanton

BRIEF OF PROFESSOR THOMAS BOEHM AS AMICUS CURIAE
       IN SUPPORT OF PLAINTIFFS-APPELLANTS


                                         JOSHUA C. MCDANIEL
                                           Counsel of Record
                                         PARKER W. KNIGHT III
                                         HARVARD LAW SCHOOL
                                           RELIGIOUS FREEDOM CLINIC
                                         6 Everett Street, Suite 5110
                                         Cambridge, MA 02138
                                         (617) 496-4383
                                         jmcdaniel@law.harvard.edu

                                         Counsel for Amicus Curiae
          Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 2 of 30




                                  TABLE OF CONTENTS

                                                                                                       Page

TABLE OF AUTHORITIES ....................................................................... ii

INTEREST OF AMICUS CURIAE............................................................ 1

INTRODUCTION ....................................................................................... 2

ARGUMENT ............................................................................................... 4

     I.   Religious schools provide unique academic, social, and
          emotional benefits for children with disabilities and their
          families. .......................................................................................... 4

     II. Including students with disabilities in religious schools
         enriches the education of their peers. ......................................... 10

     III. Creating an inclusive school environment for children with
          disabilities is an essential aspect of religious life. ..................... 14

     IV. California’s nonsectarian requirement violates the free-
         exercise rights of students with disabilities, their families,
         and religious schools. ................................................................... 18

CONCLUSION ......................................................................................... 20

CERTIFICATE OF COMPLIANCE ........................................................ 22

CERTIFICATE OF SERVICE ................................................................. 23




                                                      i
          Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 3 of 30




                               TABLE OF AUTHORITIES

                                                                                             Page(s)
Cases

Carson v. Makin,
   142 S. Ct. 1987 (2022). ................................................................... 2, 20

Endrew F. ex rel. Joseph F. v. Douglas Cnty. Sch. Dist. RE-1,
   580 U.S. 386 (2017) ............................................................................ 18

Fulton v. City of Philadelphia,
   141 S. Ct. 1868 (2021). ....................................................................... 20

Sch. Dist. of Abington Twp. v. Schempp,
   374 U.S. 203 (1963). ............................................................................. 5

Trinity Lutheran Church of Columbia, Inc. v. Comer,
   582 U.S. 449 (2017). ........................................................................... 20

Statutes

20 U.S.C. § 1400(c)(1) ................................................................................. 7

20 U.S.C. § 1400(d)(1)(A)...................................................................... 2, 18

20 U.S.C. § 1412(a)(10)(A) ........................................................................ 19

20 U.S.C. § 1412(a)(10)(C) ........................................................................ 19

Other Authorities

Abdullah ibn Umm Maktum, Alim, https://perma.cc/4AWE-96ST. ...... 16

Brief for Montana Catholic School Parents et al. as Amici Curiae
   Supporting Petitioners, Espinoza v. Montana, 140 S. Ct. 2246
   (2020) (No. 18-1195), 2019 WL 4640666 ........................................... 12



                                                    ii
         Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 4 of 30




Cassandra M. Cole et al., Academic Progress of Students Across
   Inclusive and Traditional Settings,
   42 Mental Retardation 136 (2004)..................................................... 13

David S. Shapiro, The Doctrine of the Image of God and Imitatio
   Dei,
   12 Judaism 57 (1963). ........................................................................ 17

Denise J. Poston & Ann P. Turnbull, Role of Spirituality and
   Religion in Family Quality of Life for Families of Children with
   Disabilities,
   39 Educ. & Training Developmental Disabilities 95 (2004). ............. 9

Eleanor X. Liu, Erik W. Carter, Thomas L. Boehm, Naomi H.
   Annadale & Courtney W. Taylor, In Their Own Words: The
   Place of Faith in the Lives of Young People with Autism and
   Intellectual Disability,
   52 Intell. & Developmental Disabilities 388 (2014). ...................... 6, 7

Erik W. Carter, Elizabeth Lucas Dombrowski & Thomas L. Boehm,
   Creating Communities of Belonging, ACSI Leading Insights:
   Special Education and Inclusion (2021) ............................................ 10

European Agency for Special Needs and Inclusive Education,
   Evidence of the Link Between Inclusive Education and Social
   Inclusion (2018), https://perma.cc/9RCH-S893 ................................. 11

Gabe Freidman, Students with Disabilities Have Room on the
   Bench in NY, The Times of Israel,
   https://perma.cc/4BSF-G6MB. ........................................................... 17

Gabriel Petek, California Legislative Analyst’s Office, Overview of
   Special Education in California (2019) ............................................. 19

Ghaleb Hamad Alnahdi, The Positive Impact of Including Students
   with Intellectual Disabilities in Schools: Children’s Attitudes


                                                iii
         Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 5 of 30




    Towards Peers with Disabilities in Saudi Arabia,
    85 Rsch. Developmental Disabilities 1 (2019). ................................. 11

Hefziba Lifshitz, Izhak Weiss, Sara Fridel & Rivka Glaubman, Why
   Individuals with Intellectual Disability Turn to Religion:
   Behavioral and Psychological Motives of Adolescents and
   Adults,
   44 Educ. & Training in Developmental Disabilities 196 (2009) ........ 6

Janet Goodman et al., Inclusion and Graduation Rates: What Are
   the Outcomes?,
   21 J. Disability Pol’y Stud. 241 (2011) .............................................. 13

Jessica Bliss, Hand in Hand: Catholic Schools’ Focus on Education
   for Students with Special Needs, The Tennessean,
   https://perma.cc/Y23F-ABZC. .......................................................... 7, 8

LAUSD Division of Special Education, Position Paper on Equity
  and Access for Students with Disabilities (2022) .............................. 14

LAUSD, Benefits of Integration of Students with Disabilities,
  https://perma.cc/397K-69NM ............................................................. 14

Lisa Sharon Cushing & Craig H. Kennedy, Academic Effects of
   Providing Peer Support in General Education Classrooms on
   Students Without Disabilities,
   30 J. Applied Behav. Analysis 139 (1997) ......................................... 13

Maria Georgiadi et al., Young Children’s Attitudes Toward Peers
  with Intellectual Disabilities: Effect of the Type of School,
  25 J. Applied Rsch. Intell. Disabilities 531 (2012) ............................ 11

Matthew J. Schuelka, A Faith in Humanness: Disability, Religion
   and Development,
   28 Disability & Soc’y 500 (2013). ....................................................... 16




                                              iv
          Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 6 of 30




Moshe Greenwald, About, Chabad of Downtown L.A.,
   https://perma.cc/SAA8-Z4GT. ............................................................ 17

Nat’l Ctr. for Educ. Stat., U.S. Dep’t of Educ., Private School
   Enrollment (May 2022), https://perma.cc/7Q36-8LJZ. ....................... 5

Resolution in Support of Access to Lifelong Jewish Learning for
   Jews with Disabilities, Union for Reform Judaism (2011),
   https://perma.cc/52AE-L9UD. ............................................................ 17

Susie Sokol, What I Learned from My 4-Year-Old, Chabad.org,
   https://perma.cc/QBM9-RN4G ........................................................... 13

The Bible (New American Standard Bible) ....................................... 15, 16

The Episcopal Church, Journal of the 78th General Convention of
   The Episcopal Church (2015). ............................................................ 15

The Qur’an (Muhammad Farooq-e-Azam Malik trans., 1997)............... 16

Thomas L. Boehm & Eric W. Carter, Family Quality of Life and Its
   Correlates Among Parents of Children and Adults with
   Intellectual Disability,
   24 Am. J. on Intell. & Developmental Disabilities 99 (2019)......... 1, 8

Thomas L. Boehm, A Flourishing Quality of Life Amidst Disability,
   26 J. Disability & Religion 363 (2021)................................................. 1

Thomas L. Boehm, Transformational Cross-Cultural Education: A
   Special Education Perspective on Belonging (forthcoming) (on
   file with author). ................................................................................... 6

U.S. Conf. of Cath. Bishops, Guidelines for the Celebration of the
   Sacraments with Persons with Disabilities (revised ed. 2017). ....... 15

United Methodist Church, The Book of Discipline of the United
   Methodist Church (2016). ................................................................... 15


                                                    v
         Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 7 of 30




William H. Jeynes, A Meta-Analysis on the Effects and
   Contributions of Public, Public Charter, and Religious Schools
   on Student Outcomes,
   87 Peabody J. Educ. 305 (2012). .......................................................... 4

William H. Jeynes, Educational Policy and the Effects of Attending
   a Religious School on the Academic Achievement of Children,
   16 Educ. Pol’y 406 (2002). .................................................................... 5




                                                vi
       Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 8 of 30




                   INTEREST OF AMICUS CURIAE1

   Professor Thomas Boehm is a leading expert on special education and

religion. He has authored influential research papers exploring the ef-

fects of faith and religion on individuals and families affected by disabil-

ity. See, e.g., Thomas L. Boehm & Eric W. Carter, Family Quality of Life

and Its Correlates Among Parents of Children and Adults with Intellec-

tual Disability, 124 Am. J. on Intell. & Developmental Disabilities 99

(2019); Thomas L. Boehm, A Flourishing Quality of Life Amidst Disabil-

ity, 26 J. Disability & Religion 363 (2021). He is also the founding Direc-

tor of the Center for Faith and Disability at Wheaton College. He submits

this brief to highlight the unique and positive effect religious schools can

have on children with disabilities as well as their peers, families, and

broader communities.




1 All parties have consented to this brief’s filing. See Fed. R. App. P.

29(a)(2). No party’s counsel authored this brief in whole or in part, and
no person or entity other than amicus curiae or his counsel contributed
money intended to fund preparing or submitting this brief.

                                        1
       Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 9 of 30




                             INTRODUCTION

   In passing the Individuals with Disabilities Education Act, Congress

recognized that the educational needs of millions of children with disa-

bilities were going unmet. To help close the gap, Congress established

multiple pathways for those children to get the state funds necessary for

an education “designed to meet their unique needs,” including state-

funded private-school placements whenever a child’s Individualized Ed-

ucation Program concludes that a private school is best for the child. 20

U.S.C. § 1400(d)(1)(A). Yet in California, those “otherwise available pub-

lic benefits” are not available on an equal basis to children in religious

and nonreligious schools. Carson v. Makin, 142 S. Ct. 1987, 1996 (2022).

   Social science shows that California’s exclusion of religious schools

from this program isn’t just unconstitutional—it’s also a missed oppor-

tunity. As this brief will explain, study after study indicates that educa-

tion at a religious school can be just what many religious students with

disabilities need. Students with disabilities who attend religious schools

often have higher levels of academic and social success. What’s more, re-

ligious schools can meaningfully contribute to helping students with dis-

abilities develop a positive sense of self-worth and find a sense of



                                        2
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 10 of 30




belonging. These factors go hand in hand with increased emotional well-

being and greater success at school.

   The benefits of religious education extend to the students’ families as

well. By emphasizing the importance of community and inclusion, reli-

gious schools provide a support network for families. That, in turn, ena-

bles families to better support their children with disabilities. In the end,

both students with disabilities and their families flourish when they re-

ceive robust community support.

   Including students with disabilities in religious schools also benefits

their peers. Learning to include and support schoolmates with disabili-

ties helps foster better social understanding and corresponds to improved

educational outcomes for both students with disabilities and their peers.

Depriving children with disabilities of the opportunity to be placed at a

religious school withholds those positive outcomes from a large propor-

tion of private schools—to the detriment of both the schools and their

students.

   For many religious traditions, serving, educating, and empowering

children with disabilities is a religious mandate. Christian, Muslim, and

Jewish faith traditions alike include an obligation to integrate and care



                                       3
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 11 of 30




for those with disabilities. Religious communities meet these obligations

by creating communities of belonging for students of all abilities in their

schools. By preventing religious schools from receiving IEP-placed stu-

dents, California hinders religious schools from carrying out this im-

portant aspect of their faith.

   In this way, California’s law undermines religious schools’ ability to

welcome all members of their communities as well as parents’ ability to

advocate for the education that best serves their children and their fam-

ilies. The district court’s ruling upholding California’s discriminatory law

should be reversed.

                                 ARGUMENT

I. Religious schools provide unique academic, social, and emo-
   tional benefits for children with disabilities and their fami-
   lies.

   Religious schools have long played a significant role in American ed-

ucation. In fact, for much of our country’s history, religious schools were

the “primary mode of instruction.” William H. Jeynes, A Meta-Analysis

on the Effects and Contributions of Public, Public Charter, and Religious

Schools on Student Outcomes, 87 Peabody J. Educ. 305, 306 (2012) (de-

scribing the role of religious charity schools in the 17th to 19th centuries);



                                       4
        Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 12 of 30




see also Sch. Dist. of Abington Twp. v. Schempp, 374 U.S. 203, 238 n.7

(1963) (Brennan, J., concurring) (noting that education in colonial times

was frequently provided by churches). And religious schools remain a vi-

tal force in American education today. More than three million students

attend religious schools every year—about three-quarters of all private-

school students. See generally Nat’l Ctr. for Educ. Stat., U.S. Dep’t of

Educ., Private School Enrollment (May 2022), https://perma.cc/7Q36-

8LJZ.

   That’s no surprise. Religious schools help many students thrive. In

general, students who attend religious schools—especially students of

low socio-economic status—tend to have significantly higher levels of ac-

ademic achievement across subjects than their peers at secular schools.

See William H. Jeynes, Educational Policy and the Effects of Attending a

Religious School on the Academic Achievement of Children, 16 Educ. Pol’y

406, 414–17 (2002).

   And these benefits are especially salient for students with disabili-

ties. Because of religion’s distinctive focus on human purpose and value,

religious schools can offer students with disabilities a sense of belonging

they might not attain in secular schools. See Eleanor X. Liu, Erik W.



                                         5
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 13 of 30




Carter, Thomas L. Boehm, Naomi H. Annadale & Courtney W. Taylor, In

Their Own Words: The Place of Faith in the Lives of Young People with

Autism and Intellectual Disability, 52 Intell. & Developmental Disabili-

ties 388, 396 (2014). In turn, that sense of belonging benefits children not

only socially and emotionally but academically as well. See Thomas L.

Boehm, Transformational Cross-Cultural Education: A Special Educa-

tion Perspective on Belonging (forthcoming) (manuscript at 4–5) (on file

with author).

   In school, students can feel as though falling behind academically di-

minishes their self-worth. As a result, students with disabilities, espe-

cially those with learning disabilities, can feel inferior. Religious schools

empower students to overcome those feelings by giving them a more com-

plete understanding of self-worth—even helping them see their disabili-

ties not as a defect but as part of their God-given nature. See Liu et al.,

supra, at 397; see also Hefziba Lifshitz, Izhak Weiss, Sara Fridel & Rivka

Glaubman, Why Individuals with Intellectual Disability Turn to Religion:

Behavioral and Psychological Motives of Adolescents and Adults, 44

Educ. & Training in Developmental Disabilities 196, 203 (2009) (explain-

ing that the belief that “everything is directed by God” helps cultivate a



                                       6
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 14 of 30




sense of security among people with disabilities); cf. 20 U.S.C.

§ 1400(c)(1) (congressional finding in IDEA that disability “is a natural

part of the human experience and in no way diminishes the right of indi-

viduals to participate in or contribute to society”).

   Rather than focusing on academic challenges, which might isolate

students with disabilities from their peers, religious schools encourage

students to remember how they are like everyone else. By promoting that

changed perspective, religious education can help students with disabili-

ties feel valued, welcomed, and understood.

   Students’ accounts bear this out. As one child with autism spectrum

disorder observed, members of his faith community treat him “no differ-

ent” than others, seeing him as “like everyone else.” Liu et al., supra, at

396. Another child said her faith helped her see that “[God] put Asper-

ger’s in [her] life for a reason and [she is] wonderfully and perfectly

made.” Id. at 397. Before enrolling in a religious school, Eva, an eighth

grader with Down syndrome, told her parents, “I don’t have any friends.”

Jessica Bliss, Hand in Hand: Catholic Schools’ Focus on Education for

Students with Special Needs, The Tennessean (Aug. 27, 2019, 11:17 AM),

https://perma.cc/Y23F-ABZC. But within weeks of her enrollment in a



                                       7
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 15 of 30




local Catholic school, Eva found friends and felt a sense of belonging. Id.

Her dad noted how “[t]hey all sit together” and “are all eager to be a part

of her experience.” Id. At recess, Eva’s classmates save her a swing, be-

cause they know that she loves swinging “more than anything else in the

world.” Id.

   The benefits of attending religious schools extend beyond students,

reaching their families as well. Families of students with disabilities who

participate in religious communities tend to have a higher quality of life

than those who don’t. See Thomas L. Boehm & Eric W. Carter, Family

Quality of Life and Its Correlates Among Parents of Children and Adults

with Intellectual Disability, 124 Am. J. on Intell. & Developmental Disa-

bilities 99, 110–11 (2019). That connection between participation in a

faith community and higher quality of life likely exists for at least two

reasons.

   First, just as faith communities provide a positive lens through which

children can view their disabilities, they provide parents with values-

based support systems. As some parents have put it, church for them is

“a place of acceptance and unconditional love,” a place to develop positive

relationships for themselves and for their children. Denise J. Poston &



                                       8
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 16 of 30




Ann P. Turnbull, Role of Spirituality and Religion in Family Quality of

Life for Families of Children with Disabilities, 39 Educ. & Training De-

velopmental Disabilities 95, 103 (2004). This support system often ena-

bles parents to better care for their children.

   Second, many religious communities emphasize prayer and trust in a

higher power, which can increase parents’ sense of peace and persever-

ance as they support their children. Parents describe belief in God as

helping them find “inner peace.” Id. at 102. And religious practices can

also help parents to find meaning—to look at a child with a disability “as

a gift from God, as a blessing.” Id. By helping parents see their children’s

disabilities in a positive light, religious communities equip them with the

tools they need to help their children accept themselves and thrive.

   In short, religious schools provide important benefits to both students

with disabilities and their families. By excluding religious schools from

consideration for placement by a child’s IEP team, California’s nonsec-

tarian requirement hampers access to those benefits for students with

disabilities and their families.




                                       9
       Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 17 of 30




II. Including students with disabilities in religious schools en-
    riches the education of their peers.

    California’s nonsectarian requirement doesn’t just disadvantage stu-

dents with disabilities and their families. It also deprives religious

schools of the benefits that flow from educating students with disabilities.

Including students with disabilities in the classroom helps turn religious

schools into places of belonging with social and academic benefits that

redound to students with and without disabilities alike. See Erik W.

Carter, Elizabeth Lucas Dombrowski & Thomas L. Boehm, Creating

Communities of Belonging, ACSI Leading Insights: Special Education

and Inclusion 21 (2021) (discussing the importance of “belonging” for chil-

dren of all abilities).

    These benefits are substantial. In the first place, integrating children

with disabilities helps their peers become familiar with disability by

providing opportunities for positive interaction. This social engagement

often helps break down stereotypes. It “has a positive influence on stu-

dents’ attitudes [towards and] acceptance” of those affected by disability.

Ghaleb Hamad Alnahdi, The Positive Impact of Including Students with

Intellectual Disabilities in Schools: Children’s Attitudes Towards Peers




                                        10
          Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 18 of 30




with Disabilities in Saudi Arabia, 85 Rsch. Developmental Disabilities 1,

6 (2019).

    Schools have a distinctive role to play in this process because they

can offer activities that foster interaction between children with and

without disabilities. In fact, attending an integrated school predicts pos-

itive attitudes towards peers with disabilities better than having a rela-

tive with a disability does. See id. at 5; see also European Agency for Spe-

cial Needs and Inclusive Education, Evidence of the Link Between Inclu-

sive Education and Social Inclusion 6–7 (2018), https://perma.cc/9RCH-

S893 (reviewing research and finding inclusion promotes friendships be-

tween students with and without disabilities); Maria Georgiadi et al.,

Young Children’s Attitudes Toward Peers with Intellectual Disabilities:

Effect of the Type of School, 25 J. Applied Rsch. Intell. Disabilities 531,

538 (2012) (noting that inclusive environments help children develop

“more positive attitudes towards their peers with intellectual disabili-

ties”).

    This is especially true for religious schools, which endeavor to unite

students around common values. Take the experience of Kellan, a boy

with disabilities who transferred to a Catholic school at the age of nine.



                                           11
        Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 19 of 30




See Brief for Montana Catholic School Parents et al. as Amici Curiae Sup-

porting Petitioners at 4–7, Espinoza v. Montana, 140 S. Ct. 2246 (2020)

(No. 18-1195), 2019 WL 4640666. Kellan had struggled for years at the

local public school to find community and support. But almost immedi-

ately after starting at St. Francis K–8 Catholic School, Kellan found

friends who were “accepting and accommodating.” Id. at 5. With the sup-

port of his new community, he eventually participated in the Special

Olympics. Id. at 6. Kellan received high fives and hugs every morning—

his friends made him feel “like a he was a superstar.” Id. The strength of

the school community made Kellan’s success his peers’ success: friends

formed a cheering section that accompanied Kellan to his competition,

and the whole religious community was enriched by Kellan’s presence.

Id.

      Including children with disabilities in religious schools can help all

students in those schools to be more caring and inclusive. A teacher at an

Orthodox Jewish school noted that she welcomed students with disabili-

ties “not . . . only for [their sake] but also for the rest of the class. They

are our future doctors, teachers, rabbis and neighbors, and they need to




                                         12
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 20 of 30




know [classmates with disabilities].” Susie Sokol, What I Learned from

My 4-Year-Old, Chabad.org, https://perma.cc/QBM9-RN4G.

   Inclusion brings academic benefits to those peers as well. One study

suggests a link between inclusive classrooms and improvements in aca-

demic engagement, assignment completion rates, and grade achievement

for students without disabilities. See Lisa Sharon Cushing & Craig H.

Kennedy, Academic Effects of Providing Peer Support in General Educa-

tion Classrooms on Students Without Disabilities, 30 J. Applied Behav.

Analysis 139, 147 (1997). When learning in an inclusive classroom, stu-

dents without disabilities “make significantly greater academic progress

in both reading and mathematics” than do peers in traditional schools.

Cassandra M. Cole et al., Academic Progress of Students Across Inclusive

and Traditional Settings, 42 Mental Retardation 136, 142 (2004). And

states that promote more inclusive education tend to have higher gradu-

ation rates, even for students without disabilities. Janet Goodman et al.,

Inclusion and Graduation Rates: What Are the Outcomes?, 21 J. Disabil-

ity Pol’y Stud. 241, 248 (2011).

   Defendants themselves acknowledge these benefits: LAUSD has

noted that the benefits of inclusive education extend to “peers without



                                       13
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 21 of 30




disabilities” as well as their “parents, teachers, and program administra-

tors.” LAUSD, Benefits of Integration of Students with Disabilities 1,

https://perma.cc/397K-69NM; see also LAUSD Division of Special Educa-

tion, Position Paper on Equity and Access for Students with Disabilities

3–7 (2022) (noting that inclusion brings “greater academic gains and so-

cial skills” as well as greater empathy and reduced fear of differences to

students with and without disabilities).

   Thus, California’s nonsectarian requirement doesn’t just deny stu-

dents who could benefit from religious education the opportunity to

thrive. It also denies their peers and communities the privilege of thriv-

ing alongside them.

III. Creating an inclusive school environment for children with
     disabilities is an essential aspect of religious life.

   The ability to offer the many benefits of religious education to stu-

dents with disabilities, their families, and their communities is particu-

larly important to communities of faith. Indeed, creating an environment

of belonging for those with disabilities is a deeply held religious obliga-

tion in many faith traditions.

   Core doctrines of Christianity, Islam, and Judaism all reinforce the

importance of inclusion. Christian churches believe that integrating


                                       14
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 22 of 30




those with disabilities is vital to Christian life and worship. For instance,

Catholics “recognize[] . . . members with disabilities, and earnestly de-

sire[] their active participation” because “[a]ll members of the Body of

Christ are uniquely called by God.” U.S. Conf. of Cath. Bishops, Guide-

lines for the Celebration of the Sacraments with Persons with Disabilities

1 (revised ed. 2017). The Episcopal Church likewise strives to guarantee

“the spiritual and physical welcome of . . . people with disabilities” and

encourages “people with disabilities . . . to take leadership roles.” The

Episcopal Church, Journal of the 78th General Convention of The Episco-

pal Church 946 (2015). This integration in many Christian churches

helps them to become “inclusive societ[ies] without regard to . . . the dis-

abilit[y] of [their] constituents.” United Methodist Church, The Book of

Discipline of the United Methodist Church, at v (2016).

   Commitments to inclusion are central to the Christian faith. Many of

Jesus’ teachings focus on the virtue and necessity of “invit[ing] people

who are poor, who have disabilities, who are limping, and people who are

blind.” Luke 14:13 (New American Standard Bible) (emphasis added).

Communities of belonging are enhanced when members of the




                                       15
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 23 of 30




community, although “many, are one body in Christ, and individually

parts of one another.” Romans 12:5 (New American Standard Bible).

   Islamic belief, too, affirms inclusion. In Islam, “it is the duty of Mus-

lims to teach the Qur’an to persons with disabilities.” Matthew J.

Schuelka, A Faith in Humanness: Disability, Religion and Development,

28 Disability & Soc’y 500, 505 (2013). This commitment to inclusion

traces back to the life of the Prophet Muhammad himself. Id. at 505–06.

One example is the story of Abdullah ibn Umm Maktum. Abdullah, a

blind companion of the Prophet, played a leading role in the early days of

the Muslim faith. He governed Medina in the Prophet’s absence and was

given the honors of carrying the banner of Muhammad’s army and calling

Muslims     to    prayer.     Abdullah      ibn    Umm        Maktum,         Alim,

https://perma.cc/4AWE-96ST. So, too, the Qur’an encourages broad inclu-

sion, teaching that “[t]here is no blame on the blind, nor is there blame

on the lame . . . to eat at your table.” The Qur’an 24:61 (Muhammad

Farooq-e-Azam Malik trans., 1997). The desire for inclusive faith com-

munities represents the fulfillment of Islamic faith.

   Judaism is no different. Divine creation in the image of God—a cen-

tral tenet of Judaism—accords value to each person. See David S.



                                       16
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 24 of 30




Shapiro, The Doctrine of the Image of God and Imitatio Dei, 12 Judaism

57, 57 (1963). Given these beliefs, Jewish congregations “affirm[] that ac-

cess to a Jewish education, worship at the congregation, . . . attendance

at a day school, making Jewish friends and becoming leaders of the [reli-

gion] should not be limited by disability.” Resolution in Support of Access

to Lifelong Jewish Learning for Jews with Disabilities, Union for Reform

Judaism (2011), https://perma.cc/52AE-L9UD. In short, they seek to cre-

ate places “where every Jewish person is welcome.” Moshe Greenwald,

About, Chabad of Downtown L.A., https://perma.cc/SAA8-Z4GT.

    This inclusive mandate can help those with and without disabilities

flourish within the Jewish community. As one parent noted, her son who

attended a Jewish school “[didn’t] even realize” students with disabilities

are often treated differently elsewhere. Gabe Freidman, Students with

Disabilities Have Room on the Bench in NY, The Times of Israel (Feb. 22,

2015, 4:12 PM), https://perma.cc/4BSF-G6MB. At his Jewish school,

“[t]hey are all just one of the friends.” Id.

    Across these and other faith traditions, religious communities share

a deep interest in welcoming those with disabilities. Thus, in addition to

the secular benefits of inclusive learning—like improved social and



                                       17
       Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 25 of 30




educational outcomes—religious schools have spiritual motivations driv-

ing them to create inclusive classroom environments. By excluding these

schools from receiving IEP-placed students, California undercuts their

efforts to live out their faith.

IV. California’s nonsectarian requirement violates the free-exer-
    cise rights of students with disabilities, their families, and re-
    ligious schools.

    By excluding religious schools from receiving IEP-placed students

and the funds that follow those placements, California prevents many

children with disabilities from receiving the educational services that

would best meet their needs, just because those services come from a re-

ligious school. That discrimination not only runs contrary to IDEA’s pur-

pose but violates the Constitution’s free-exercise guarantee.

    To start, the ban undermines IDEA’s basic purpose. Congress passed

IDEA to ensure that all children with disabilities receive an education

“designed to meet their unique needs and prepare them for future educa-

tion, employment, and independent living.” 20 U.S.C. § 1400(d)(1)(A).

Under IDEA, the “unique circumstances of the child” should define how

and where that child should be educated. Endrew F. ex rel. Joseph F. v.

Douglas Cnty. Sch. Dist. RE-1, 580 U.S. 386, 404 (2017). Yet while



                                        18
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 26 of 30




California allows for state-sponsored placements in private secular

schools, it forbids placement in private religious schools—even when a

religious school would be best equipped to meet a child’s unique educa-

tional needs.

   Worse still, without the funding that accompanies an IEP placement,

many California parents cannot afford to send their children with disa-

bilities to religious schools. “[S]tudents with disabilities cost on average

more than two times as much to educate” as their peers. Gabriel Petek,

California Legislative Analyst’s Office, Overview of Special Education in

California 17 (2019). California schools, for example, are estimated to

“annually spend between $15,000 and $100,000 per student who is deaf

or hard of hearing.” Id. The district court suggested that children with

disabilities should either enroll in religious schools at their own expense

and then plead their case for reimbursement before an administrative

officer or court, or content themselves with whatever “equitable services”

the state makes available. ER-49, 52–53 (district court opinion); see

20 U.S.C. § 1412(a)(10)(A), (C). But students with disabilities in Califor-

nia are especially likely to come from low-income households. Petek, su-

pra, at 8. Thus, for many families whose needs would be best met at a



                                       19
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 27 of 30




religious school, the burden of independently placing their children with

no guarantee of funding is simply too great.

   Blocking placement in religious schools not only subverts IDEA’s pur-

pose—it also violates the Free Exercise Clause. The Supreme Court has

repeatedly held that “a State violates the Free Exercise Clause when it

excludes religious observers from otherwise available public benefits.”

Carson, 142 S. Ct. at 1996; see also Trinity Lutheran Church of Columbia,

Inc. v. Comer, 582 U.S. 449, 467 (2017); Fulton v. City of Philadelphia,

141 S. Ct. 1868, 1879 (2021). And there can be no doubt California vio-

lates that clear standard. Because California does not consider religious

schools for IEP placement, the otherwise available benefit of guaranteed

full funding of tuition and disability support services is denied to stu-

dents whose needs would be best served by IEP placement in a religious

school.

                               CONCLUSION

   As social-science research confirms, religious schools are uniquely po-

sitioned to help many students with disabilities thrive. California’s ban

on placing those students in religious schools thus not only violates the




                                       20
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 28 of 30




Constitution but deprives students of what for many would be the best

opportunity to succeed. The district court’s decision should be reversed.2

                                         Respectfully submitted,

                                         /s/ Joshua C. McDaniel
                                         JOSHUA C. MCDANIEL
                                           Counsel of Record
                                         PARKER W. KNIGHT III
                                         HARVARD LAW SCHOOL
                                           RELIGIOUS FREEDOM CLINIC
                                         6 Everett Street, Suite 5110
                                         Cambridge, MA 02138
                                         (617) 496-4383
                                         jmcdaniel@law.harvard.edu

                                         Counsel for Amicus Curiae




2 Amicus thanks Brecken Denler, Michelle Jaquette, Matt Rohrback, and

Juliette Turner-Jones, students in the Harvard Law School Religious
Freedom Clinic, for helping to prepare this brief.

                                       21
         Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 29 of 30




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

      Instructions for this form: http://www.ca9.uscourts.gov/forms/form08instructions.pdf
                                 23-55714
9th Cir. Case Number(s)

       I am the attorney or self-represented party.
                            3,787
       This brief contains _______________ words, including __________ words

manually counted in any visual images, and excluding the items exempted by FRAP

32(f). The brief’s type size and typeface comply with FRAP 32(a)(5) and (6).

       I certify that this brief (select only one):

☐ complies with the word limit of Cir. R. 32-1.

☐ is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

☐ is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
  29-2(c)(2), or Cir. R. 29-2(c)(3).

☐ is for a death penalty case and complies with the word limit of Cir. R. 32-4.

☐ complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
 only one):
    ☐ it is a joint brief submitted by separately represented parties.
    ☐ a party or parties are filing a single brief in response to multiple briefs.
    ☐ a party or parties are filing a single brief in response to a longer joint brief.

☐ complies with the length limit designated by court order dated                                               .

☐ is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).

            s/Joshua C. McDaniel                                                November 1, 2023
Signature                                                               Date
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
Form 8                                                                                         Rev. 12/01/22
      Case: 23-55714, 11/01/2023, ID: 12818692, DktEntry: 35, Page 30 of 30




                      CERTIFICATE OF SERVICE

   I certify that on November 1, 2023, I served this document on all par-

ties or their counsel of record via CM/ECF.

   Dated: November 1, 2023

                                         /s/ Joshua C. McDaniel
                                         Joshua C. McDaniel




                                       23
